         Case 2:13-cr-00087-APG-CWH            Document 50        Filed 02/10/14      Page 1 of 2




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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         ) 2:13-CR-087-APG-(CWH)
                                                       )
11 DARREN COKER,                                       )
                                                       )
12                         Defendant.                  )
13                                      FINAL ORDER OF FORFEITURE

14           On September 6, 2013, the United States District Court for the District of Nevada entered a

15 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2) and Title 18, United

16 States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c) based upon the plea

17 of guilty by defendant DARREN COKER to the criminal offenses, forfeiting the property set forth in

18 the Forfeiture Allegation of the Criminal Indictment and shown by the United States to have the

19 requisite nexus to the offenses to which defendant DARREN COKER pled guilty. Criminal

20 Indictment, ECF No. 1; Change of Plea, ECF No. 36; Preliminary Order of Forfeiture, ECF No. 39.

21           This Court finds the United States of America published the notice of forfeiture in accordance

22 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

23 from November 23, 2013, through December 22, 2013, notifying all potential third parties of their

24 right to petition the Court. Notice of Filing Proof of Publication, ECF No. 46.

25           This Court finds no petition was filed herein by or on behalf of any person or entity and the

26 time for filing such petitions and claims has expired.
          Case
           Case2:13-cr-00087-APG-CWH
                 2:13-cr-00087-APG-CWH Document
                                       Document50  Filed02/07/14
                                                49 Filed 02/10/14 Page
                                                                   Page22
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 1           This Court finds no petitions are pending with regard to the assets named herein and the time

 2 for presenting such petitions has expired.

 3           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 4 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 5 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 6 32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

 7 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

 8 law:

 9           1.     a Glock 9 millimeter pistol bearing serial number KMA101;

10           2.     any and all ammunition.

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

12 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

13 income derived as a result of the United States of America’s management of any property forfeited

14 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

15          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

16 certified copies to the United States Attorney’s Office.

17          Dated
            DATEDthis
                   this10th
                        ___ day    February,2014.
                            day of February, 2014.

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                                                  UNITED STATES DISTRICT JUDGE
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